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 ATTORNEY FOR HANMI BANK

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                  WICHITA FALLS DIVISION

 IN THE MATTER OF:                                    §           CASE NO. 24-70089
                                                      §
 HIGH PLAINS RADIO NETWORK, LLC,                      §
                                                      §
         DEBTOR                                       §           CHAPTER 11, Subchapter V

               HANMI BANK’S MOTION FOR RELIEF FROM AUTOMATIC STAY

         Hanmi Bank (“Hanmi Bank”), as a creditor of High Plains Radio Network, LLC (“Debtor”) and

 party in interest, moves for entry of an order lifting or otherwise modifying the automatic stay imposed by

 Section 362(a) of the United States Bankruptcy Code, and in support respectfully shows:

                     NOTICE PURSUANT TO LOCAL BANKRUPTCY RULES

 PURSUANT TO LOCAL BANKRUPTCY RULE 4001-1(b), A RESPONSE IS REQUIRED TO
 THIS MOTION, OR THE ALLEGATIONS IN THE MOTION MAY BE DEEMED ADMITTED,
 AND AN ORDER GRANTING THE RELIEF SOUGHT MAY BE ENTERED BY DEFAULT.

 ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE CLERK OF THE UNITED
 STATES BANKRUPTCY COURT AT EARLE CABELL FEDERAL BUILDING, 1100
 COMMERCE ST., RM. 1254, DALLAS, TEXAS 75242-1496 BEFORE THE CLOSE OF BUSINESS
 ON APRIL 22, 2024, WHICH IS AT LEAST 14 DAYS FROM THE DATE OF SERVICE HEREOF.
 A COPY SHALL BE SERVED UPON COUNSEL FOR THE MOVING PARTY AND ANY
 TRUSTEE OR EXAMINER APPOINTED IN THIS CASE. ANY RESPONSE SHALL INCLUDE
 A DETAILED AND COMPREHENSIVE STATEMENT AS TO HOW THE MOVANT CAN BE
 “ADEQUATELY PROTECTED” IF THE STAY IS TO BE CONTINUED.

                                                Jurisdiction

         1.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.A.

 Sections 157(b)(2)(a) and 1334. This is a core proceeding.




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                                               Introduction

          2.     Hanmi Bank seeks to recover possession certain radio broadcasting transmission

 equipment (collectively the “Equipment”) which is collateral for indebtedness under two equipment finance

 agreements (each an “EFA” and collectively the “EFAs”).

                                               Background

          3.     On March 26, 2024, Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy

 Code.

 EFA No. 40467799

          4.     Amur Equipment Finance, Inc. (“Amur”) and Debtor executed and entered into an

 Equipment Finance Agreement ( “EFA 40467799”) dated July 28, 2022 now known as Hanmi Bank

 Equipment Finance Agreement No. 40467799 regarding a RVR transmitter; (1) ORBAN 2200 and (468)

 Audio Feed Line bearing serial no. TX10KPS/G-0139, 808122-011, located at 725 FM 2013, Friona, Texas

 79035.

          5.     A true and correct copy of EFA 40467799 is attached to this pleading as Exhibit 1 and

 incorporated by reference.

          6.     The Equipment was to be and was provided and supplied by Process Technologies &

 Services, LLC (“Supplier”).

          7.     The portion of the Equipment which is the subject of EFA 40467799 is described in the

 invoice from Supplier, attached to this pleading as Exhibit 2 and incorporated by reference.

          8.     Debtor agreed under EFA 40467799 to make 60 equal successive monthly installments to

 Amur in the amount of $2,266.00.

          9.     Bankruptcy and insolvency of Debtor are events of default under EFA 40467799.

          10.    EFA 40467799 allows Amur, upon default by Debtor, to take possession of the Equipment

 through judicial process or extrajudicial means and to dispose of the Equipment.

          11.    The indebtedness under EFA 40467799 was and is secured by a security interest granted

 by the Debtor in and to the Equipment.


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            12.   Amur perfected the security interest in the equipment which is the subject of EFA

 40467799 by filing a UCC-1 financing statement with the Texas Secretary of State on December 1, 2021.

            13.   A true and correct file-marked copy of the UCC-1 financing statement alleged above is

 attached to this pleading as Exhibit 3 and incorporated by reference.

            14.   The portion of the Equipment which is the subject of EFA 40467799 was delivered to and

 accepted by Debtor, as shown by the Equipment Acceptance Certificate, a true and correct copy of which

 is shown in Exhibit 4 attached to this pleading and incorporated by reference signed by Debtor on December

 1, 2021.

            15.   Amur paid Supplier the full purchase price for the equipment which is the subject of EFA

 40467799.

            16.   Amur assigned EFA 40467799 to Hanmi Bank and its rights in the equipment which is the

 subject of EFA 40467799 for value.

            17.   Hanmi Bank did not have knowledge of any claim or defense at the time of the assignment

 to it of EFA 40467799 from Amur.

            18.   Hanmi Bank remains the sole owner of the EFA, the security interest alleged above and all

 rights in the same.

 EFA No. 40478603

            19.   Hanmi Bank and Debtor executed and entered into an Equipment Finance Agreement

 (“EFA 40478603”) dated July 28, 2022 known as Hanmi Bank Equipment Finance Agreement No.

 40478603 regarding radio transmission equipment, goods, property and accessions thereto, located at 860

 East 155 Road, Magnum, Oklahoma 73554.

            20.   A true and correct copy of EFA 40478603 is attached to this pleading as Exhibit 5 and

 incorporated by reference.

            21.   The portion of the Equipment which is the subject of EFA 40467799 was to be and was

 provided and supplied by Supplier.




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         22.      The portion of the Equipment which is the subject of EFA 40467799 is described in the

 invoice from Supplier, attached to this pleading as Exhibit 6 and incorporated by reference.

         23.      Debtor agreed under the EFA 40478603 to make 60 equal successive monthly installments

 to Hanmi Bank in the amount of $2,573.44.

         24.      Hanmi Bank and Debtor executed and entered into a Disbursement Authorization to EFA

 40478603.

         25.      Bankruptcy and insolvency of Debtor are events of default under EFA 40478603.

         26.      EFA 40478603 allows Hanmi Bank, upon default by Debtor, to take possession of the

 subject equipment through judicial process or extrajudicial means and to dispose of the Equipment.

         27.      The indebtedness under the Hanmi Bank was and is secured by a security interest granted

 by the Debtor in and to the equipment which is the subject of EFA 40478603.

         28.      Hanmi Bank perfected the security interest in the equipment alleged above by filing a

 UCC-1 financing statement with the Oklahoma County Clerk on March 3, 2020. 1

         29.      A true and correct file-marked copy of the UCC-1 financing statement alleged immediately

 above is attached to this pleading as Exhibit 7 and incorporated by reference.

         30.      The equipment which is the subject of EFA 40478603 was delivered to and accepted by

 Debtor, as shown by the Delivery and Acceptance Certificate shown in Exhibit 8, signed by Debtor on

 February 25, 2022.

         31.      Hanmi Bank paid Supplier the full purchase price for equipment which is the subject of

 EFA 40478603.

         32.      Hanmi Bank remains the sole owner of EFA 40478603, the security interest alleged above

 and all rights in the same.




 1
         Under Oklahoma law, UCC-1 financing statements are to be filed with the Oklahoma County, Oklahoma
         Clerk. 12A OK STAT. ANN. tit. 12-A § 1-9-320.3 (2023).


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                                             Necessity for Relief

          33.    Debtor defaulted on, breached and repudiated EFA 40467799 by failing to pay the sums as

 thereby required, and failed to cure its payment default.

          34.    Debtor defaulted on, breached and repudiated EFA 40478603 by failing to pay the sums as

 thereby required, and failed to cure its payment default.

          35.    Debtor defaulted on both of the EFAs by commencing the above-named bankruptcy case.

          36.    Upon information and belief, Debtor is insolvent, which is an event of default under both

 of the EFAs.

          37.    Hanmi Bank is without adequate protection in regard to the Equipment so long as it is

 prevented by the automatic stay from taking action to recover the Equipment.

          38.    Debtor has failed to provide adequate protection for the Equipment which is the subject of

 EFA 40467799.

          39.    Debtor’s representative and member, Monte Lee Spearman, testified in this Court on April

 5, 2024 that Debtor is not conducting broadcasting operations at its place of business at or near Friona,

 Texas.

          40.    Debtor’s representative and member, Monte Lee Spearman, testified in this Court on April

 5, 2024 that Debtor is not using the portion of the Equipment which is the subject of EFA 40467799.

          41.    Because Debtor is not using the portion of the Equipment which is the subject of EFA

 40467799, there is no reason for Debtor to retain possession.

          42.    Debtor has failed to provide adequate protection for the Equipment which is the subject of

 EFA 40478603.

          43.    Debtor’s representative and member, Monte Lee Spearman, testified in this Court on April

 5, 2024 that Debtor is currently conducting broadcasting operations at its place of business at or near

 Magnum, Oklahoma.

          44.    Debtor’s representative and member, Monte Lee Spearman, testified in this Court on April

 5, 2024 that Debtor is currently the portion of the Equipment which is the subject of EFA 40478603.


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         45.      As Debtor has not assumed either of the EFAs, there is significant likelihood in this case

 that recovery and disposition of the Equipment will be the only recovery for Hanmi Bank in regard to the

 EFAs.

         46.      As of April 8, 2024, the unpaid remining balance owed on EFA 40467799 is $53,000.00.

         47.      As of April 8, 2024, 33 monthly installments payable under EFA 40467799 remain payable

 under the EFA.

         48.      As of April 8, 2024, Debtor has paid the monthly installments payable under EFA

 40467799 only through February 1, 2024.

         49.      As of April 8, 2024, Debtor has not paid the monthly installment payable udert her EFA

 which was due by March 1, 2024.

         50.      As of April 8, 2024, the unpaid remining balance owed on EFA 40478603 is $74,550.40.

         51.      As of April 8, 2024, 37 monthly installments payable under the EFA remain payable under

 EFA 40478603.

         52.      As of April 8, 2024, Debtor has paid the monthly installments payable under EFA

 40478603 only through February 1, 2024.

         53.      As of April 8, 2024, Debtor has not paid the monthly installment payable under EFA

 40478603 which was due by March 1, 2024.

         54.      As of April 3, 2024, the unpaid remining balance owed on EFA 40478603 is $95,217.28.

         55.      Even in the event the EFA is assumed and payments are made to Hanmi Bank, the

 automatic stay should be modified so as to enable Hanmi Bank to exercise remedies to recover the

 Equipment and apply the net disposition proceeds to satisfy the balance owed.

                                                   Prayer

         Hanmi Bank requests that, after notice and hearing required by the Bankruptcy Code, the

 Bankruptcy Rules, and the Bankruptcy Local Rules, the Court enter an order that:

         1.       the automatic stay imposed by Section 362 of the Bankruptcy Code by lifted or otherwise
                  modified to permit Hanmi Bank to take action to recover the Equipment from Debtors; and



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         2.      Hanmi Bank be granted such other and further relief to which it may be entitled.


                                                           Respectfully submitted,


                                                           ___________
                                                           Paul H. Cross
                                                           Texas Bar No. 05131500
                                                           PAUL H. CROSS ATTORNEY AT LAW PLLC
                                                           11300 N. Central Expwy., Suite 604
                                                           Dallas, Texas 75243
                                                           Telephone: 214.926.5734
                                                           Facsimile:     214.269.1439
                                                           Email: phclease@msn.com

                                                           COUNSEL FOR HANMI BANK

                                         Certificate of Conference

          Hanmi Bank’s undersigned attorney certifies that on April 6, 2024, he attempted to confer with
 Debtor’s bankruptcy counsel regarding the merits of the foregoing motion, and that the latter counsel failed
 to state Debtor’s position in regard to the same.


                                                           ___________
                                                           Paul H. Cross

                                           Certificate of Service

         The undersigned certifies that on April 9, 2024 a true and correct copy of the foregoing motion was
 served via ECF; except for Debtor whereas in that instance such document was mailed via First Class United
 States Mail:

         High Plains Radio Network, LLC                             U S Small Business Administration
         c/o Monte Lee Spearman, Member                             10737 Gateway West Ste 300
         P.O. Box 1419                                              El Paso Texas 79935
         Vernon, Texas 76384
         Debtor                                                     And all those receiving ECF
                                                                    notification in this case.
         United States Trustee
         1100 Commerce St Room 976
         Dallas Texas 75242


                                                           ___________
                                                           Paul H. Cross




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                                  EXHIBITS
                                       FOR

                  HANMI BANK’S INITIAL MOTIONS AND ANY RELATED
                     DECLARATION AND DISCOVERY REQUESTS



 EXHIBIT 1   EQUIPMENT FINANCE AGREEMENT NO. 40467799

 EXHIBIT 2   INVOICE FROM SUPPLIER FOR EQUIPMENT FINANCE AGREEMENT NO. 40467799

 EXHIBIT 3   FILE-MARKED UCC-1 FINANCING STATEMENT FOR EQUIPMENT            FINANCE
             AGREEMENT NO. 40467799 FILED WITH TEXAS SECRETARY OF STATE

 EXHIBIT 4   EQUIPMENT ACCEPTANCE CERTIFICATE FOR EQUIPMENT FINANCE AGREEMENT NO.
             40467799

 EXHIBIT 5   EQUIPMENT FINANCE AGREEMENT NO. 40478603

 EXHIBIT 6   INVOICE FROM SUPPLIER FOR EQUIPMENT FINANCE AGREEMENT NO. 40478603

 EXHIBIT 7   FILE-MARKED COPY OF THE UCC-1 FINANCING STATEMENT FILED WITH OKLAHOMA
             COUNTY CLERK FOR EQUIPMENT FINANCE AGREEMENT NO. 40478603

 EXHIBIT 8   DELIVERY AND ACCEPTANCE CERTIFICATE FOR EQUIPMENT FINANCE AGREEMENT
             NO. 40478603
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                                   EXHIBIT 1
                      EQUIPMENT FINANCE AGREEMENT NO. 40467799
-82:1547Ā.7;36893Ā0-)Ā%,-!& ""Ȁ/!"+Ȁ$ (+Ȁ*---Ȁ$-.'"$'+,#!                                                                                                                         THIS IS A COPY
                 Case 24-70089-swe11                                          Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58
                                                                                                                   This is a copy viewDesc    Main
                                                                                                                                       of the Authoritative Copy held
                                                                                   Document     Page 10 of 29      by the designated custodian
                                                                                                                                                                               Customer No.                               Contract No.

       AMUR Equipnzent Flnance                                                                                                                                                    367468                                   1053897


                                                                                 EQUIPMENT FINANCE AGREEMENT
     Customer (also you or your)                  High Plains Radio Network, L.L.C.                                                                  Address         PO Box 1478, Plainview, TX 79073
     Amur Equipment Finance, Inc. (Secured Party, also we, us or our) agrees to provide to you the Financed Amount subject to the terms and conditions of this EFA.
     1. Key Definitions
          Financed Amount                     Term              Required Initial Payment                          Periodic Payment                        Payment Frequency                 Balloon Payment                 Security Deposit
             $101,716.00                  60 Months                     $2,266.00                                      $2,266.00                                Monthly                             N/A                             N/A
         EFA means this equipment finance agreement and all schedules, exhibits, addendums and amendments thereto (also referred to as Contract).
         Contract Documents refer to this EFA and all agreements and documents related thereto (excluding any Guaranty) described as Contract Documents and identified by the above Contract Number.
         Obligations means all your payment and performance obligations under this EFA and all other Contract Documents.
         Equipment means the equipment and/or personal property financed hereunder by us and described in Schedule A.
         Collateral means the Equipment and any additional collateral pledged to us to secure the Obligations as described in Schedule A.
         Guaranty means any written guaranty of your Obligations hereunder; Guarantor refers to any person or entity that signs a Guaranty.




                                                                                                                                                                                                                               --
         Funding means any portion of the Financed Amount we pay to a designated vendor or reimburse to you.




                                                                                                                                                                                                                        -
         Payment Due Date means, throughout the entire Term, the same numeric day of each month as we will advise you.
     2. Term. The Term shall commence on the first Payment Due Date. However, your Obligations and                                     (b) You shall keep at all times the Collateral at the location(s) specifiedd onn Schedule   Sc
                                                                                                                                                                                                                                   Sch        A or as




                                                                                                                                                                             W
                                                                                                                                                                                                                .,.,._,.,._.
                                                                                                                                                                                                               .....
        our rights hereunder shall begin the day we execute this Contract, which shall remain in full force                                otherwise disclosed to us, except you may move any mobile Collateral        lateral within
                                                                                                                                                                                                                                  hin the
                                                                                                                                                                                                                                      t U.S. in your
        and effect, together with all Contract Documents, until you have completely and indefeasibly
        discharged all Obligations.
     3. Unconditional and Non-Cancelable Obligations. YOUR PAYMENT AND ALL OTHER
                                                                                                                                           normal course of business provided it returns to such location(s)
                                                                                                                                       (c) You are responsible for properly installing, operating, maintaining,.....
                                                                                                                                                                                                                 n(s) on a regular basis.
                                                                                                                                                                                                                on(s)
                                                                                                                                                                                                                aining,, repairing
                                                                                                                                                                                                          maintaining
                                                                                                                                                                                                                .,.,..
                                                                                                                                                                                                                         rep
                                                                                                                                           Collateral and for keeping it in the same conditionn as when delivered to you, excep
                                                                                                                                                                                                                                    bas
                                                                                                                                                                                                                                   and registering
                                                                                                                                                                                                                                        regis
                                                                                                                                                                                                                                        r          the
                                                                                                                                                                                                                                   except for ordinary
                                                                                                                                                                                                                                              o




                                                                                                                                                                          IE
        OBLIGATIONS UNDER ALL CONTRACT DOCUMENTS ARE ABSOLUTE, UNCONDITIONAL                                                               wear and tear. You shall not alter the Collateral     eral without our prior written consent nor make
                                                                                                                                                                                              lateral                                         m      it
        AND IRREVOCABLE AND NOT SUBJECT TO ABATEMENT, REDUCTION, SET-OFF, CLAIM,                                                           part of any real property. Any addition      on or improvement to the Collateral shall be deemed
                                                                                                                                                                                       ion                                                  deeme a
        OR DEFENSE FOR ANY REASON WHATSOEVER, WHETHER ARISING OUT OF ANY PAST,                                                             permanent accession thereto subject   bject to our Security Interest.
                                                                                                                                                                                                         Interes
        PRESENT OR FUTURE CLAIM AGAINST US, A VENDOR, THE COLLATERAL, ANY THIRD                                                        (d) Upon our written request, you shall prominently label the Collateral as being subject        subje tot our
        PARTY, A CASUALTY OR EVENT BEYOND YOUR CONTROL. YOU CANNOT CANCEL OR                                                               Security Interest.
        TERMINATE THIS EFA OR ANY OTHER CONTRACT DOCUMENT FOR ANY REASON.                                                              (e) We may inspectt the Collateral and related documentation at any reasonable reaso        time.
                                                                                                                                                                                                                                   tim




                                                                                                                V
     4. Disclaimer of Warranties. You acknowledge and agree that: (i) you selected the Equipment,                                  9. Insurance andd Risk of Loss   Lo
        accept it AS IS and WE MAKE NO EXPRESS OR IMPLIED WARRANTIES WHATSOEVER AS TO                                                  (a) You agreee to keep the Collateral insured against loss and liability under  un terms and with insurers
        ITS MERCHANTABILITY AND/OR FITNESS FOR A PARTICULAR PURPOSE; (ii) you                                                              acceptablee to usu (the Required Coverage)
                                                                                                                                                                                 Covera ) and agree
                                                                                                                                                                                 Coverage             gree to have
                                                                                                                                                                                                              ha us named as lender’s loss payee
        acknowledge and agree that you selected any software included with the Collateral (the Software),                                  and additional
                                                                                                                                                        onal insured. Upon demand, you      you agree to provide us with valid evidence of the
        you assume all liability related to any unauthorized access or use of the Software and any data                                    Required Coverage.
                                                                                                                                                         over
        collected, stored or used by it (the Data) and we do not own or license any Software or Data nor                  or           (b) If you fail to maintain the Required Coverage (and without us waiving any resulting default), we




                                                                                                              Y
        have any duty to configure, maintain and/or otherwise safeguard them; (iii) YOU WAIVE AGAINST             GAINST
                                                                                                                    AIN                    have the right to purchase, at your you expense,
                                                                                                                                                                                     expe        insurance to protect our interests, in which case
        US, AND WE SHALL NOT BE LIABLE FOR, ANY CLAIM FOR LOSS, INJURY OR                                     R DAMAGE
                                                                                                                   AMA                     you
                                                                                                                                             ou acknowledge and agree that w      we are not a reseller of insurance and the amount we bill you
        CAUSED BY ANY COLLATERAL AND/OR CONTRACT DOCUMENT, INCLUDING                                  UDING BUT     T NNOT                 may be higher than tha what your
                                                                                                                                                                          you insurance provider could have charged you and include a profit
        LIMITED TO, ALL SPECIAL, CONSEQUENTIAL, INCIDENTAL, PUNITIVE                              VE OR EXEMPLARY
                                                                                                 IVE         EXEMPLA                       for us as well billing
                                                                                                                                                            billin and processing fees.




                                                       P
        DAMAGES; (iv) you shall look only to the vendor or manufacturer (not              ot us)
                                                                                              s) for any claim related
                                                                                                                 relate to             (c) You shall bear ar the entire risk of loss, theft, damage, destruction or requisition (each, a Casualty)
        Equipment or Software, which shall not relieve you or any Guarantor          or from any respective obligations
                                                                                  ntor                         obligat                     of the Collateral
                                                                                                                                                    Collat       from any cause whatsoever. You shall promptly notify us in writing of any
        hereunder.                                                                                                                         Casualty
                                                                                                                                           Casualt and follow our directive by either (i) placing the affected Collateral in its pre-Casualty
     5. Security Interest. To secure your performance off the Obligations, you grant us a first prior               priority               condition
                                                                                                                                           co          at your sole cost and expense or (ii) paying all remaining Obligations, less any Casualty
        security interest in the Collateral (the Security Interest).
                                                                  nterest ). Failure
                                                                      est).  Failure to perfect our Security Interest in                   proceeds received by us.




                                                     O
        any Collateral shall not affect or impair your    our Obligations
                                                                        ns or those of any Guarantor.
                                                                                               Gua           You havee (or         10. Taxes. You are required to report and pay when due all personal property taxes on the Collateral.
        will have upon acquisition of the Equipment) uipment) good and marketable title to the Collateral and shall                    You are required to pay when due all other taxes, fees, assessments, interest, penalties and other
        maintain such title until all your Obligations have been satisfied. You shall      s     not sell, transfer, lease,
                                                                                                                     le                governmental charges arising hereunder, including, without limitation, all other personal property,
        assign, relinquish possession     sion of or otherwise dispose of the Collateral,
                                                                                 Colla        which is and must
                                                                                                              mu remain                excise, use, sales and gross receipts taxes (excluding our income taxes), plus user fees, tolls and




                        C
        free and clear of anyy security interest,
                                              ntere lien or encumbrance
                                                                     brance of any kind
                                                              encumbrance            kin (except our Security
                                                                                                        S         Interest)            fines (collectively, the Taxes), even if we may, in our sole discretion, elect to pay any Taxes directly
        and be under your   our control at all times. You shall give us immediate notice
                                                                                       no of any   a unpermitted liens,                to the appropriate taxing authority on your behalf, in which case you agree to promptly reimburse
        claims orr encumbrances and cause them to be immediately and irre                 irrevocably
                                                                                          ir           removed at your                 us that cost.
        expense. se. You sshall
             ense.            hall title and/or register any eligible Collateral
                                                                      Collate as di directed by us.                                11. Representations and Other Agreements
     6. Payment
             ment Obligations
                      O                                                                                                                (a) You are and shall remain (i) duly organized, validly existing and in good standing under the laws
        (a)
         a) You ou promise to pay to us in good and immediately
                                                             immediatel available funds, with or without notice or                         of the state of your organization and are and (ii) duly qualified and licensed to do business
            demand,
               eman all the amounts listed herein (each,   (each a Payment).                                                               wherever necessary.
            (i)) The Required Initial Payment,
                                             Pay         any Security Deposit and the Transaction Fees (all as                         (b) You shall give us at least thirty (30) days’ prior written notice before you change your name,
                  disclosed
                  disclos in the Document  cume Package
                                                    Pac        Checklist) prior to us advancing any Funding. If we                         mailing address or place of business.
                  choose
                    hoose not to execute this th EFA for any reason, we will return any Required Initial Payment,                      (c) You have adequate power and capacity to enter into this EFA and all other Contract Documents,
                  Security
                      curity
                       urity Dep  osit and title fees not incurred but keep the balance as liquidated damages.
                             Deposit                                                                                                       which have been duly authorized, executed and delivered by, and constitute valid, legal and
            (ii) Throughout
                        ughout the Term at the Payment Frequency, each Periodic Payment on the applicable                                  binding agreements enforceable against, you.
                  Payment  nt Due
                              D Date.                                                                                                  (d) Except as previously set forth in writing to us, you do not require a governmental or other
            (iii) At the end of the Term, the Balloon Payment, if any.                                                                     approval to enter into the Contract Documents and your execution thereof does not violate any
            (iv) A Per Diem amount, which shall constitute interest on the Financed Amount and be                                          judgment, regulation or law.
                  calculated as 1/30th of the highest Periodic Payment amount for each day between the last                            (e) All information you furnish to us is true, complete, correct and not misleading.
                  Funding and the first Payment Due Date.                                                                              (f) You are not party to any legal proceeding and agree to comply with all Federal, state and local
            (v) All costs and expenses, whether incurred by us, counsel and/or agents, related to the Contract                             laws and regulations.
                  Documents, such as due diligence, documentation, searches and inspection costs, as well as                       12. Default. Any of the following shall constitute a Default under this EFA:
                  fees and expenses to establish, perfect, protect or enforce our rights, interests and remedies,                      (a) We do not receive any one Payment as and when required hereunder.
                  irrespective of whether you or any Guarantor is in default of any obligation to us.                                  (b) You breach or fail to perform any obligation, provision and/or condition of this EFA or any other
            (vi) Any other amounts due under this EFA or any other Contract Document.                                                      Contract Document.
        (b) We shall apply all Payments in our sole discretion to satisfy the Obligations and disregard any                            (c) You or any Guarantor shall default under any other financial obligation or real property lease.
            restrictive endorsement.                                                                                                   (d) You or any Guarantor shall have made an untrue or misleading statement or representation.
        (c) You authorize us to increase any applicable Payment by up to 15% or decrease them without                                  (e) You or any Guarantor takes any action to: (i) cease, suspend or wind up its respective business;
            limit to reflect a corresponding change in the Financed Amount; any such increase or decrease                                  (ii) terminate its existence (or if an individual, he or she dies or is adjudicated as incompetent);
            will be reflected in our billings to you.                                                                                      and/or (iii) transfer any portion of its ownership to, merge with or convey or dispose of
        (d) You agree to pay: (a) for each Payment we do not receive in full within ten (10) days of its due                               substantially all of its assets to, any person or entity (each, a Dissolution Event).
            date, a late charge equal to the greater of (i) 10% of such late Payment and (ii) a minimum                                (f) You or any Guarantor (i) becomes insolvent; (ii) takes any action under (or is involuntarily placed
            amount determined by our then-applicable fee policy; (b) for each returned ACH debit charge or                                 in) any bankruptcy, reorganization, insolvency, receivership or other similar proceedings for the
            check, a fee determined by our then-applicable fee policy.                                                                     relief of debtors or benefit of creditors; and/or (iii) makes an assignment for the benefit of
     7. Security Deposit. We may commingle any Security Deposit with our assets and apply it to any                                        creditors or admits its inability to pay its debts as they become due (each, an Insolvency Event).
        Obligation at our sole discretion, after which you agree to replenish it. Any unused portion will be
        remitted to you, without interest, upon full performance of the Obligations.
     8. Collateral Condition, Maintenance and Inspection
        (a) YOU SHALL USE THE COLLATERAL FOR BUSINESS PURPOSES ONLY.

       www.amuref.com                                                                                                                                        Docs & Funding               Version 1.2                  Date           4/1/2021
-82:1547Ā.7;36893Ā0-)Ā%,-!& ""Ȁ/!"+Ȁ$ (+Ȁ*---Ȁ$-.'"$'+,#!                                                                                                                    THIS IS A COPY
                Case 24-70089-swe11                                         Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58
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                                                                                                                                     of the Authoritative Copy held
                                                                                 Document     Page 11 of 29      by the designated custodian
                                                                                                                                                                                                                   Contract No.

       AMUR                   ipnzent H11ance                                                                                                                                                                       1053897

     13. Remedies. Upon the occurrence of a Default, we can elect to declare you in default of this EFA                          IN THE EVENT THAT THIS EFA IS ASSIGNED BY US, ANY OTHER COURT SELECTED BY THE
         and any other Contract Document and, subject to applicable law, exercise cumulatively any or all of                     ASSIGNEE. HOWEVER, IF YOU COMMENCE ANY LEGAL ACTION OR PROCEEDING
         the following remedies without notice to you or any Guarantor:                                                          AGAINST US, YOU MAY ONLY DO SO IN ONE OF THE AFORESAID COURTS LOCATED IN
         (a) Require that you pay us the sum of the following amounts (collectively, the Accelerated                             THE STATE OF NEBRASKA. You agree that any service of process shall be sufficiently served if
             Amount) calculated as of the date of your Default:                                                                  sent to you by a nationally recognized overnight delivery service to your current address on our
             (i) All accrued and unpaid Periodic Payments;                                                                       records and it shall be deemed complete two (2) business days after having been sent to you.
             (ii) The present value of all remaining Periodic Payments and any Balloon Payment, all                          18. Arbitration. Any controversy, claim or breach related to this Contract may be settled by arbitration
                   accelerated and discounted at an annual percentage rate equal to 2.50% plus the Treasury                      according to the LAWS OF THE STATE OF NEBRASKA; any judgment upon the award rendered
                   Constant Maturities rate (from the Federal Reserve Board H.15 Selected Interest Rates                         by the arbiter(s) may be entered in any court of jurisdiction. Arbitration shall be held in the State of
                   release) with the term closest to, but not longer than, the remaining Term of this EFA;                       Nebraska under the American Arbitration Association commercial arbitration rules.
             (iii) All other Payments due hereunder;                                                                         19. Waiver of Jury Trial. EACH PARTY HEREBY IRREVOCABLY WAIVES THE RIGHT TO TRIAL
             (iv) All of our Enforcement Costs (as defined below); and                                                           BY JURY OF ANY CAUSE OF ACTION, CLAIM, COUNTERCLAIM OR CROSS-COMPLAINT IN
             (v) A daily default interest equal to the lower of (1) an 18.00% annual percentage rate and (2)                     ANY ACTION OR PROCEEDING TO WHICH IT MAY BE A PARTY REGARDING ANY MATTER
                   the highest amount allowed by law, applied to all sums due hereunder until paid to us.                        WHATSOEVER RELATED TO THIS EFA, ANY OTHER CONTRACT DOCUMENTS, GUARANTY,
         (b) Demand turnover of the Collateral, which you shall immediately do at your expense as directed                       SOFTWARE, DATA AND/OR COLLATERAL.
             by us while preserving it in a marketable condition.                                                            20. Miscellaneous
         (c) Enter any premises where the Collateral is located to inspect, render unusable or take immediate                    (a) Entire Agreement and Amendments. The Contract Documents represent the entire




                                                                                                                                                                                                     -
             possession of it, with or without demand, notice, court order or other process of law and without                       agreement between you and us; they supersede all prior agreements and communications
             liability to us. In this case, you irrevocably waive to the fullest extent permitted by law any bond,                   concerning this subject matter and may only be amended in writing by mutual            al consent, except




                                                                                                                                                                                              . .......-
                                                                                                                                                                                                                        a
                                                                                                                                                                                             ...
             surety or security required as an incident of such action.                                                              you authorize us to: (i) date, complete blanks, update contact information      ationn and
                                                                                                                                                                                                                            an payments (as




                                                                                                                                                                       W
         (d) Sell, lease or otherwise dispose of the Collateral at a public or private sale, with minimum ten                        described above); (ii) correct any errors or omissions; and (iii) amend   end Schedule
                                                                                                                                                                                                                          dule A.



                                                                                                                                                                                      ...........
             (10) days’ notice.                                                                                                  (b) Further Authorizations. You authorize us to: (i) sign and file     lee on your behalf any do document we
                                                                                                                                                                                                         ~
         (e) Pursue one or more remedy available to us under any Contract Document, any Guaranty, the
                                                                                                                                                                                             .......
                                                                                                                                     deem necessary to perfect, protect, dispose of, transfer,    sfer, sell or
                                                                                                                                                                                                              o r enforce our interest
                                                                                                                                                                                                                                inter
                                                                                                                                                                                                                                i        in the




                                                                                                                                                                       .
             Uniform Commercial Code (the UCC), any other applicable law and/or in equity.                                           Collateral; (ii) take any action authorized by thee Contract Documents; (iii) make      mak claims
                                                                                                                                                                                                                                     cla    for,




                                                                                                                                                                    IE
         As material inducement for us to enter into this EFA, you expressly agree that the Accelerated
                                                                                                                                                                                 ...........
                                                                                                                                     execute and endorse all documents and receive   ceive                                        covering
                                                                                                                                                                                        ve all payments for checks or drafts coverin
                                                                                                                                                                                                                                  c        loss




                                                                                                                                                           ..
         Amount (i) represents a reasonable estimate of the anticipated harm we will suffer from a Default,                          or damage; (iv) take any other action allowed under your insurance policies; and (v)         (v grant any




                                                                                                                                                       .... ,......... ....      ......
         such harm being difficult to ascertain accurately due to the variability of our operating, financing and                    of these powers to our agents.
         other costs and (ii) compensates us for the loss of our bargain, including all costs, expenses and
         fees arising from such Default.                                                                                             found to be invalid shall
                                                                                                                                                        ......
                                                                                                                                                               .................
                                                                                                                                 (c) Severability and Usury Savingsavings
                                                                                                                                                                    vings
                                                                                                                                                                     ~     Clause.
                                                                                                                                                                           Claus Any provision

                                                                                                                                                                     .,,,,,,,,,.      ,..
                                                                                                                                                                                                 ion or remedy in the Contract
                                                                                                                                                             hall not impair the remaining ones. You agree that a waiver
                                                                                                                                                                                                                              ~     Documents
                                                                                                                                                                                                                                    Docum
                                                                                                                                                                                                                                    D
                                                                                                                                                                                                                                er of
                                                                                                                                                                                                                           wai ver  o a Default
     14. Enforcement Costs. Whether or not you or any Guarantor are in default and/or in bankruptcy, you                             shall not represent
                                                                                                                                                                     -.~
                                                                                                                                                        nt a waiver of any other Default, and that any delay or failure to enforce our
                                                                                                                                                       ent




                                      V
                                                                                                                                                          ....
         shall be obligated to pay us all Enforcement Costs, which represent all attorney’s fees, other legal                        rights doess not prevent us from enforcing any rights later on. Any amoun    amount we bill or collect in
                                                                                                                                                                                                                  am
         fees as well as all costs and expenses we incur, in the exercise or preservation of our rights or                           excess
                                                                                                                                          ss than
                                                                                                                                                an what is allowed by law (including
                                                                                                                                                                                (inc       usury laws,
                                                                                                                                                                                                   aws, if applicable)
                                                                                                                                                                                                             appli
                                                                                                                                                                                                             app           shall be deemed a
         remedies and/or our efforts to enforce judgments, under this EFA, any Contract Documents or                                 mistake andnd we will, respectively, reduce any such       excess
                                                                                                                                                                                                 exces amount
                                                                                                                                                                                                           a        to the maximum amount
         Guaranty, including all expenses related to the turnover, recovery, repossession, preservation,
         refurbishing, advertising, sale, re-lease or other disposition of any Collateral.                                       .
                                                                                                                                 (d)
                                                                                                                                                                      -.~
                                                                                                                                 (d Notices. We reserve the right to send notices, at our
                                                                                                                                                                                             ~
                                                                                                                                     permitted by law or apply it against your other Obligations.
                                                                                                                                                                                         Obligation
                                                                                                                                                                                         Obligations
                                                                                                                                                                                             o discretion, by personal delivery; by mail,
     15. Assignment                                                                                                                  deemed effective three (3) days after sending;
                                                                                                                                                                               sending or by electronic means (including emails and/or




                             .. --- Y
         (a) You may not assign, delegate or transfer any of your rights or responsibilities under any Contract
             Document, which shall remain binding upon you, your heirs, successors and assigns.             ns.
                                                                                                                  ontract
                                                                                                                   ntr               SMS messages, in which case you
                                                                                                                                                                      ,,..y ma
                                                                                                                                     provider), deemed effective when ssent.
                                                                                                                                                                                 may incur charges from your communications service

         (b) We may sell, transfer, assign or otherwise convey to any affiliated or unaffiliatedd person or entity en            (e) Credit        Information Disclosure.
                                                                                                                                         dit and Inform           Disc           You confirm that upon the submission of an application
             (an Assignee), without notice to you or your consent, any or all of our           urr rights, interests and             on your behalf for financing
                                                                                                                                                          financ to us, you and each Guarantor authorized us, and further authorize




                        --.. P
             benefits (in whole or in part) under this EFA (including Paymentss due          ue hereunder), any other
                                                                                                                    o                us until all your  Obligations
                                                                                                                                                   our Ob
                                                                                                                                                        O            are satisfied, to obtain any credit, financial, trade and/or business
             Contract Document, a Guaranty or the Collateral (an Assignment).      ment).). Upon any Assignment you                  information ono you and any Guarantor (and you confirm that each Guarantor provided you with
             acknowledge that: (i) such Assignee shall have the rights,     s,, interests and benefits we convey,
                                                                                                             convey but              such authorization)
                                                                                                                                           au               from any bank, financial institution, credit reporting agency, trade reference
             none of our obligations under any assigned Contract     ctt Documents; (ii) such Assignee’s rights shall
                                                                                                                    sh               and/or
                                                                                                                                     an      any other person or entity.
                                                                      ~
             not be subject to any claim, defense or set-off
                                                                    ......
                                                              off that
                                                                                 ....,
                                                                    at you or any Guarantor may have against us;       us        (f)
                                                                                                                                 ( Communications and Marketing. You and any Guarantor expressly consent to receiving




                            O
             (iii) you shall perform all the Obligations ns hereunder er for the Assignee as required under such                     communications including email, voice and text messages (including prerecorded, automated
                                                                           ..,,,,,,,,,,
             Assignment; and (iv) if requested,, you shall (and cause all Guarantors to) acknowledge such                            and/or artificial messages) from us, our agents and/or our Assignees, for any purpose, including
             Assignment.
     16. Indemnification. You agree     .,
                                        ree too indemnify, defend and hold us, aany Assignee and our respective
                                                                                                              re
                                                                                                                                     but not limited to marketing or collection purposes, at any email address, residential telephone
                                                                                                                                     line or wireless telephone number you provide us now or in the future (in which case message




                       C
         agents, employees, directors, officers
                                             offic and shareholders,
                                                                  olders, harmless (on a net after-tax
                                                                                                   after t basis) from               and/or data rate may apply). This consent is not a condition of doing business with, or

                                        •
         and against anyy suits, claims,, losses, damages, Taxes or other harms     harm suffered
                                                                                            suffere (including but not               purchasing any goods/services from, us. You and any Guarantor may unsubscribe or opt-out of

         Contract
              tract
     17. Choice

         REGARD
           EGARD
                              _,,,,,.,.
                ce of Law and Service of P
         DOCUMENT
                                             ....
         limited to all attorney’s fees incurred and other Enforcement Costs) relating
                   ct Documents, Guaranty or Collateral and/or unauthorized
                                                    Process. THIS
                UMENT SHALL BE GOVERNED BY THE LAWS OF
               ARD TO ITS C     CONFLICT
                                  ONFLICTCT OF LAWS PRINCIPLES)
                                                         PRINCIP
                                                                    unauth
                                                                   HIS EFAE
                                                                                    ac
                                                                                       relat to this EFA, any other
                                                                                       re
                                                                                    access to Software or Data.
                                                                                 AND EACH OTHER CONTRACT
                                                                      O THE STATE OF NEBRASKA (WITHOUT
                                                                          REGARDLESS OF THE LOCATION OF
                                                                                                                                     any further telemarketing calls or marketing text messages at any time.
                                                                                                                                 (g) Survival. All your Obligations and our rights shall survive the expiration or earlier termination of
                                                                                                                                     this EFA, all other Contract Documents and any Guaranty.
                                                                                                                                 (h) Further Assurances. At your expense, you shall execute and deliver such additional
                                                                                                                                     documents and perform such further acts we may request to effect and preserve our Security
         THE COLLATERAL. YOU AGR          AGREE THAT WE    W HAVE THE OPTION TO CHOOSE THE VENUE,                                    Interest and rights under the Contract Documents. You also agree to deliver such information
         FORUM    M AND STATE IN WHIC    WHICH WE COMMENCE ANY LEGAL ACTION OR PROCEEDING                                            or documents we may request, including insurance certificates, financial statements, tax returns,
         ARISING    G DIRECTLY OR INDIRECTLY
                                         INDI
                                         INDIRE         AND/OR OTHERWISE RELATED TO THIS EFA, ANY                                    equipment records, real property waivers and trade or personal banking information.
         CONTRACT     CTT DOCUMENT AND/ORA         THE COLLATERAL AND YOU HEREBY CONSENT TO THE                                  (i) Timing. Time is of the essence with respect to your Obligations hereunder.
         NON-EXCLUSIVE   USIVEE JURISDICTION
                                JUR
                                JU                 OF THE STATE COURTS OF THE STATE OF NEBRASKA,                                 (j) Headings. Headings are for convenience only.
         HALL COUNTY      TY OR
                             O THE U.S. DISTRICT COURT LOCATED IN THE STATE OF NEBRASKA OR,

     Execution and Chattel Paper. This EFA and any related Contract Documents may be executed in counterparts manually or by electronic means and, when transmitted to us through any means (including electronic),
     shall be binding on you for all purposes as if manually signed. The copy of this EFA containing your original or electronic signature and (i) manually signed by us, marked “Original” and in our or any direct or indirect
     Assignee’s possession or (ii) electronically signed by us and stored as an electronic record under our control, shall constitute the original authoritative version of such document for all purposes and shall constitute
     the sole “chattel paper” as defined in the UCC. THIS CONTRACT CONTAINS AN ARBITRATION PROVISION WHICH MAY BE ENFORCED BY THE PARTIES.

           CUSTOMER High Plains by:
                                 Radio Network, L.L.C.                                                                      AMUR EQUIPMENT FINANCE, INC.
                                 I
                      DocuSigned




                r-
                Signature
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                                     dl.signhere.2
                                        34FA2DE8A8D245F ...
                                                               s  r~l'JA,                                                                          ~
                                                                                                                                                           DocuSigned by:

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                                                                                                                                     Signature dl.signhere.5
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                       Name Monte Lee Spearman                                                                                                      
                                                                                                                                         Name dl.fullname.5
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                       •
                        Title Member                                                                                                      Title dl.title.5
                        Date 
                              dl.datesign.2                                                                                                    
                                                                                                                                          Date dl.datesign.5




       www.amuref.com                                                                                                                                                                                                   Long-form EFA
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              Case 24-70089-swe11                             Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58
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                                                                   Document     Page 12 of 29      by the designated custodian
                                                                                                                                                                               Contract No.

       AMUR Equip,nent Finance                                                                                                                                                 1053897


                                                                      SCHEDULE A – COLLATERAL
     This Schedule A represents an integral part of the EFA referenced by the Contract Number above.
     For the purposes of this EFA, Collateral shall refer to the following Equipment, any collateral in which we have or shall have a Security Interest, ownership and/or title under a separate
     agreement with the Customer, as well as any additional collateral listed below, in all cases whether now owned or hereafter acquired, together with all personal property installed in, affixed
     to or used in connection therewith and all present or future: (i) additions, accessories, accessions, attachments, parts, supplies, related software, intellectual property, rights, licenses and
     improvements thereto; (ii) substitutions, renewals, replacements and purchase options thereof; (iii) insurance, warranty, and other third-party claims; (iv) Customer’s rights in connection
     with a third-party’s use of such equipment under a sublease, rental or similar agreement; (v) proceeds and product in any form (including but not limited to insurance and sale proceeds) of
     each of the foregoing, whether it be cash, non-cash or in any other form; and (vi) to the extent the equipment identified herein is construed as or deemed inventory, that inventory and all
     accounts, accounts receivable, cash proceeds and all other proceeds related thereto or derived therefrom.


                                                                                             Equipment
      Description                                         VIN/Serial Number              Equipment Location                                                 Vendor
      (1) RVR TRANSMITTER; (1) ORBAN 2200;                TX10KPS/G-0139,                725 FM 2013, Friona, TX 79035                                      Process Technologies & Services,
      (468) Audio Feed Line                               808122-011                                                                                        LLC




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      www.amuref.com                                                                                                                                                              Long-form EFA
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                                   EXHIBIT 2
         INVOICE FROM SUPPLIER FOR EQUIPMENT FINANCE AGREEMENT NO. 40467799
      Case 24-70089-swe11                  Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58                                Desc Main
                                                Document     Page 14 of 29
                                                                                                                           Invoice
                                                                                 Phone #                        Date             Invoice #

10612-D Providence Road, #716                                                704-817-5950                     11//2021         20211110E
Charlotte, NC 28277-0233

  Bill To                                                                          Ship To

High Plains Radio Network, LLC                                                   HPRN
PO Box 1478                                                                      725 FM 2013
Plainview, TX 79073                                                              Friona, 7; 79035
USA                                                                              USA




     P.O. No.                  Payment               Rep             Ship Date             Ship Via                   Incoterm

                          Due on receipt             PV               11//2021

         Item                               Description                                    Qty            Rate(USD)              Amount

Equip.               RVR TRANSMITTER                                                                  1       7,870.00            7,870.00
                     Model #PJ10KPS-CA
                     10500W, 87.5-108 MHZ, RF Output 50 Ohm
                     SN TX10KPS/G-0139
Equip.               ORBAN 2200                                                                       1        ,850.00             ,850.00
                     Model #2200U
                     FM audio processor, 20Hz-15kHz, Freq 2.0Hz-15kHz
                     SN 808122-011 CI
Equip.               Audio Feed Line - HJ8-50B                                                    468                         1,996.00
                     Andrews-Comscope
                     Air Dielectric Coaxial Cable, corr copper, 3 in, black PE
                     jacket
Shipping Charge      Shipping                                                                         1        1,000.00             1,000.00




Thank you for your business.
                                                                                                 Subtotal USD                    $101,716.00

Bank Info:
Bank of America, NC2-108-01-01                                                                   Sales Tax (0.0%)                      $0.00
7911 Providence Road
Charlotte, NC 28277
Account#: 237005994405
                                                                                                 Total USD                       $101,716.00
Swiftcode: BOFAUS3N                                         Pierre vanDongen
Wire Routing # 026 009 593                                 Cell: 704-907-6505                    Payments/Credits
ACH Routing # 0530 0019 6                                                                                                              $0.00
                                                     pierre@processtechgroup.com
*Customer Must Pay Wire Tranfer Fees*
                                                Website: www.processtechgroup.com                Balance Due                     $101,716.00
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                                  EXHIBIT 3
           FILE-MARKED UCC-1 FINANCING STATEMENT FOR EQUIPMENT FINANCE
             AGREEMENT NO. 40467799 FILED WITH TEXAS SECRETARY OF STATE
               Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                     Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58                                                   Desc Main
                                                                          Document     Page 16 of 29
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
   csc
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                      FILING NUMBER: 21-0053337519
   Corporation Service Company                                                                                     FILING DATE: 12/01/2021     03:15 PM
   251 LITTLE FALLS DRIVE                                                                                          DOCUMENT NUMBER: 1098419890001
                                                                                                                   FILED: Texas Secretary of State
   Wilmington, DE 19808
                                                                                                                   IMAGE GENERATED ELECTRONICALLY FOR XML FILING
   USA                                                                                                             THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY




                                                                                                                                 DITIONAL NAME(S)/INITIAL(S)




             ORGANIZATION'S NAME




 c. MAILING ADDRESS                                                                                                                                                         OUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
             ORGANIZATION'S NAME
          CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
  OR
             INDIVIDUAL'S SURNAME                                               RST PERSONAL NAME


3c. MAILING ADDRESS                                                             ITY                                                           OSTALCODE
PO BOX2576                                                                     Springfield                                                    62708
U CCSPREP@cscinfo.com
 . COLLATERAL: This financing statement covers the following collateral:
1) RVR TRANSMITTER Serial Number:TX1 0KPS/G-0139 (1) ORBAN 2200 Serial
  umber:808122-011 (468) Audio Feed Line The equipment financed under Contract
 053897 listed above, whether now owned or hereafter acquired, together with all
 ersonal property installed in, affixed to or used in connection therewith and
 II present or future: (i) additions, accessories, accessions, attachments,
 arts, supplies, related software, intellectual property, rights, licenses and
mprovements thereto; (ii) substitutions, renewals, replacements and purchase
 ptions thereof; (iii) insurance, warranty, and other third-party claims; (iv)
  ebtor's rights in connection with a third-party's use of such equipment under a
 ublease, rental or similar agreement; (v) proceeds and product in any form
including but not limited to insurance and sale proceeds) of each of the
oregoing, whether it be cash, non-cash or in any other form; and (vi) to the
 xtent the equipment identified herein is construed as or deemed inventory, that
nventory and all accounts, accounts receivable, cash proceeds and all other
 roceeds related thereto or derived therefrom.




   heck Q!l)y if applicable and check Q!l)y one box: Collateral is     in a Trust (see UCC1Ad, item 17 and Instructions)   being administered by a Decedent's Personal Representative
   Check QD.]y if applicable and check QD.]y one box:                                                                             Check QD.]y if applicable and check QD.]y one box.
   Public-Finance Transaction         r   Manufactured-Home Transaction                                                            gricultural Lien   r   Non-UCC Filing




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                                  EXHIBIT 4
   EQUIPMENT ACCEPTANCE CERTIFICATE FOR EQUIPMENT FINANCE AGREEMENT NO. 40467799
               1053897/367468
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                                                      Document     Page 18 of 29



                                              EQUIPMENT ACCEPTANCE CERTIFICATE
     This document (the Acceptance Certificate) is executed by High Plains Radio Network, L.L.C. (the Customer, also you or your) in favor of Amur
     Equipment Finance, Inc. and its successors and assigns (collectively, also we, us and our) and represents a Contract Document under the EFA,
     Lease or other financing agreement identified by the Contract Number above (the Contract). Any defined term not otherwise described herein shall
     have the same meaning ascribed to it in the Contract or the other Contract Documents defined therein.

                As of the Acceptance Date set forth below, you (i) unconditionally and irrevocably accept the equipment
          listed in the attached Schedule A, together with all records, manuals and instructions (the Equipment) and (ii) agree
        to be responsible for, perform and comply with, all of the Obligations, terms and conditions of the Contract Documents.

     In connection with your acceptance of the Equipment, you acknowledge and agree as follows:
     1. You selected the Equipment, accept it AS IS and WE MAKE NO EXPRESS OR IMPLIED WARRANTIES WHATSOEVER AS TO ITS
          MERCHANTABILITY AND/OR FITNESS FOR A PARTICULAR PURPOSE; you selected any Software included with the Equipment, you assume
          all liability related to any unauthorized access or use of the Software and any Data collected, stored or used by it and we do not own or license
          any Software or Data nor have any duty to configure, maintain and/or otherwise safeguard them; YOU WAIVE AGAINST US, AND WE SHALL
          NOT BE LIABLE FOR, ANY CLAIM FOR LOSS, INJURY OR DAMAGE CAUSED BY THE EQUIPMENT, SOFTWARE AND/OR DATA,
          INCLUDING BUT NOT LIMITED TO, ALL SPECIAL, CONSEQUENTIAL, INCIDENTAL, PUNITIVE OR EXEMPLARY DAMAGES; and you shall
          look only to the vendor or manufacturer (not us) for any claim related to Equipment or Software, which shall not relieve you of any Payment or
          other Obligation under the Contract Documents.
     2. Neither the Equipment vendor nor any of its salespersons or other agents are agents of ours or authorized to waive or modify any term or condition
          of this document or the other Contract Documents.
     3. The Equipment has not been delivered, installed and/or accepted on a trial basis.
     Execution. This document may be signed manually or by electronic means and, when transmitted to us through any means (including electronic),
     shall be binding on you for all purposes as if manually signed.

          CUSTOMER High Plains Radio Network, L.L.C.


              r----
                        G    DocuSigned by:



                        ~~8A~SF~r~~
              Signature dl.signhere.2
                  Name Monte Lee Spearman
                   Title Member

       IAcceptance Datel 
                          dl.datesign.2
                1053897/367468
-82:1547Ā.7;36893Ā0-)Ā%,-!& ""Ȁ/!"+Ȁ$ (+Ȁ*---Ȁ$-.'"$'+,#!
             Case 24-70089-swe11                 Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58            Desc Main
                                                      Document     Page 19 of 29



                                                         SCHEDULE A – COLLATERAL

                                                                      Equipment
      Description                             VIN/Serial Number   Equipment Location              Vendor
      (1) RVR TRANSMITTER; (1) ORBAN 2200;    TX10KPS/G-0139,     725 FM 2013, Friona, TX 79035   Process Technologies & Services,
      (468) Audio Feed Line                   808122-011                                          LLC
Case 24-70089-swe11   Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58   Desc Main
                           Document     Page 20 of 29

                                   EXHIBIT 5
                      EQUIPMENT FINANCE AGREEMENT NO. 40478603
,7190436Ā-6:25782Ā/,(Ā,'% "%.Ȁ $#+Ȁ#.*)Ȁ*+#+Ȁ.!&# ,##-).+                                                                          THIS IS A COPY
              Case 24-70089-swe11                                    Doc 42 Filed 04/08/24 Entered   04/08/24 Copy
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                                                                                                                                      is held at NA3.docusign.net

      ~ HanmiBank                                                         Document     Page 21 of 29
                                                                                  EQUIPMENT FINANCING AGREEMENT
                                                    Agreement # 17534-DIS-50187
                                         “BORROWER”                                                                                                                                   “SUPPLIER”
      FULL LEGAL NAME HIGH PLAINS RADIO NETWORK, L.L.C.
      BILLING ADDRESS 3218 Quincy St                                                                                                                            See Exhibit “A” Attached Hereto
                                                                                                                                                                   and Made A Part Hereof
      CITY Plainview STATE TX ZIP 79072-1906
      CONTACT Monte Lee Spearman                                               TELEPHONE 970-255-3615

       QUANTITY                       FULL DESCRIPTION OF PROPERTY INCLUDING MODEL, SERIAL NUMBERS                                                                  EQUIPMENT COST
                                                                                                                                                            SEE DISBURSEMENT AUTHORIZATION
                            See Exhibit “A” Attached Hereto and Made A Part Hereof                                                                      ATTACHED HERETO AND MADE A PART HEREOF

                            PROPERTY LOCATION (IF DIFFERS FROM BILLING ADDRESS)                                                                                       FIRST PAYMENT
    Street Address: 860 E 155 Road                                                                                                                       (CHECK FOR THIS AMOUNT MUST ACCOMPANY
    City: Mangum                                                                                                                                                       AGREEMENT)
    State: OK Zip: 73554                                                                                                                        FIRST PAYMENT $0.00
                                                                                                                                                        LAST PAYMENT $0.00
    TERM OF LOAN AND PAYMENTS                                                  FIRST PAYMENT DATE: ______________                                       LOAN FEE       $395.00
                                                                               ("Base Term Commencement Date”)                                          TOTAL AMOUNT DUE: $395.00




                                                                                                                                                                                               ---
    60 PAYMENTS OF $2,573.44
                                                                          TERMS OF EQUIPMENT FINANCING AGREEMENT ("Agreement")




                                                                                                       W
    Borrower and Secured Party agree as follows:
    1. SECURITY INTEREST: Borrower hereby grants Secured Party a security under the Uniform Commercial Code in the above personal property (collectively the “Collateral”        ral” and individually
                                                                                                                                                                               eral”      individual ana “Item” or
    “Item of Collateral”). Such security interest is granted to secure performance by Borrower of its obligations thereunder and under any other present or future agreement
                                                                                                                                                                          nt with
                                                                                                                                                                               th Secured Party. B Borrower shall
                                                                                                                                                                                                   Borro




                                                                                                                                                                                             -
    insure that such security interest is and shall remain a sole first lien security interest. BORROWER HEREBY AUTHORIZES SECURED PARTY TO FILE A COPY                       Y OF THIS AGREEMENT
                                                                                                                                                                                            AGREEMEN
                                                                                                                                                                                            AGREEM           AS A
                                                                                                                                                                        .....




                                                                                                  -- IE
    FINANCING STATEMENT AND APPOINTS SECURED PARTY OR ITS DESIGNEE AS BORROWER’S ATTORNEY-IN-FACT TO EXECUTE AND FILE,                                            E, ON BORROWER’S BEHALF, FINAN      FINANCING
                                                                                                                                                                                                      F
    STATEMENTS COVERING THE COLLATERAL.

    2. PAYMENTS: Borrower shall repay Secured Party the above Total of Payments in the number of monthly installments of the amount indicated
    due as of the Base Term Commencement Date and subsequent installment payments shall be due on the same day of each month thereafter            eafter
                                                                                                                                                    after
                                                                                                                                                     ~
    designated as the date of funding or another date selected by Borrower at the time of verbal or written verification to Secured Party. If Borrower
                                                                                                                                                         ted
                                                                                                                                                          ed
                                                                                                                                                           ~
                                                                                                                                                           until p     The
                                                                                                                                                                 paid. T he Base........_.
                                                                                                                                                              above. The initial installment payment shall b
                                                                                                                                                                              se Term Commencement Date sha
                                                                                                                                                  orrower selects a Base Term Commencement Date th
                                                                                                                                                                                                              deemed
                                                                                                                                                                                                           be deem
                                                                                                                                                                                                               shall be
                                                                                                                                                                                                           tthat is not
    the date of funding, then a pro-rata portion of the aggregated average of the installment payments based on a daily charge            rge
                                                                                                                                            ge of one-
                                                                                                                                                  one
                                                                                                                                                  one-thirtieth
                                                                                                                                                      -thirtieth (1/30) of the installment payment
                                                                                                                                                                                            pa       cal
                                                                                                                                                                                                     calculated from
                                                                                                                                      te. All other amounts
                                                                                                                                                       amounts due thereunder shall be due upon Borrower’s receipt




                                                                                               -- V
    the date of funding to Base Term Commencement Date shall be due and payable on the Base Term Commencement Date.
    of Secured Party’s invoice therefor. Advance payments shall be applied to the last installment payments in reverse order
    agreement may be applied to Borrower’s obligations to Secured Party in such order as Secured Party chooses.
                                                                                                                                  ....
                                                                                                                               rder
                                                                                                                                der unt
                                                                                                                                    untilill exhausted; provided that if there is a default, an
                                                                                                                                                                                              any payments under this


    3. NO AGENCY. BORROWER ACKNOWLEDGES THAT NO SUPPLIER OF AN ITEM OR INTERMEDIARY,   RY, MANUFACTURER,                                       ..........
                                                                                                                                       BROKER OR ANY OTHER PERSON
                                                                                                       TURER, DISTRIBUTOR, WHOLESALER, B
    OR ENTITY NOR ANY AGENT OF ANY OF THE FOREGOING PERSONS OR ENTITIES (collectively
                                                                                 ctively
                                                                                   ively "Supplier") IS AN AGENT OF SECURED PARTY A
                                                                                                                                                  ..........
                                                                                                                                   AND FURTHER THAT NONE OF SUCH
    PARTIES IS AUTHORIZED TO WAIVE OR ALTER ANY ITEM OR CONDITION OF THIS AGREEMENT.
                                                                                  T. NO REPRESENTATION
                                                                               MENT.      REPRESENTAT ION AS TO ANY MATTER BY A

                                                                                                                                    -·
                                                                                                                                 ANY SUCH PARTY SHALL BIND SECURED




                                                                                               Y
    PARTY OR AFFECT BORROWERS DUTY TO PAY THE INSTALLMENT PAYMENTS AND PERFORM
                                                                            ERFORM ITSS OTHER OBLIGATIONS THEREUNDER.
                                                                                                               THEREUN

    4. NON CANCELABLE AGREEMENT; THERE SHALL BE NO PREPAYMENT OR OFFSET TO THE TERMS OF THIS
                                                                                           THIS AGREEMENT AND THE PAYMENTS DUE HEREUNDER AND THIS
    AGREEMENT IS NON CANCELABLE BY BORROWER FOR ANY REASON WHATSOEVER.
                                                             ATSOEVER.
                                                                   ER. BORROWER MAY REPAY THE INSTALLME
                                                                                              IN
                                                                                              INSTALLMENT PAYMENTS ONLY IN ACCORDANCE HEREWITH.
                                                                                   ......._                                         .......




                      P
    5. FINANCING. THIS AGREEMENT IS SOLELY AN EQUIPMENT FINANC
                                                        FINANCING AGREEMENT.
                                                                    REEMENT. SEE ALL PAGES FOR AD
                                                                                               ADDITIONAL TERMS AND CONDITIONS WHICH ARE PART OF THIS
    AGREEMENT.

                                                                                              ..............
    SECURED PARTY MAKES NO WARRANTY, EXPRESS
    BORROWER AGREES THAT BORROWER HAS SELECTED
    UPON ANY STATEMENTS OR REPRESENTATIONS             ONS ...............
                                                             .,,,,,,.,,.,,..
                                                                S OR IMPLIED, OR THAT THE EQUIPMENT
                                                           LECTED
                                                             ECTED THE SUPPLIER AND EACH ITE
                                                           S MADE BY SECURED PARTY. SECURED
                                                                                                   EQ

                                                                                              SECURE PARTY D
                                                                                                                 IS FIT FOR A PARTICULAR PURPOSE OR THAT THE EQUIPMENT IS MERCHANTABLE.

                                                                                                      ..........,....
                                                                                                              EQUIPMENT BASED UPON BORROWER’S OWN JUDGMENT AND DISCLAIMS ANY RELIANCE
                                                                                                    ITEM OF EQUIPME
                                                                                                                  DOES NOT TAKE RESPONSIBILITY FOR THE INSTALLATION OR PERFORMANCE OF THE




            --..... O
    EQUIPMENT. THE SUPPLIER IS NOT AN             N AGENT OF SECURED PARTY AND NOTHING THE SUPPLIER STATES CAN AFFECT BORROWER’S OBLIGATION UNDER THE AGREEMENT.
    BORROWER WILL CONTINUE TO MAKE           KE
                                              E ALL PAYMENTS UNDER THIS AGREEMENT REGARD          REGARDLESS OF ANY CLAIM OR COMPLAINT AGAINST SUPPLIER. This Agreement is effective only upon
                                                                                                  REGAR
    execution by an authorized officer off Secured Party following
    hereby authorizes Secured Party
    Equipment Cost/Advance jointly
                              ointly to any party not spe
                                                      specified
                                                                 W:
                                                          cified in the
                                                                        ......
                                                                     Borrower’s execution hereof, and upon execution Secured Party shall fund the Equipment Cost/Advanced. Borrower
                                   rty to Disburse the Equipment Cost/Advance
                                                                     Cost/A
                                                                        preceding
                                                                        pre
                                                                     'W:.
                                                                                   as indicated on the attached Disbursement Authorization. Secured Party reserves the right to pay the applicable portion of the
                                                                                  sentence with
                                                                                            w a security interest in an Item of Collateral.




                   C
    6. LOCATION; INSPECTION;
                       NSPECTION; USE. Borrower shall keep, or, 'W:.   as to an Item which is movable, permanently garage and not remove from the United States, as appropriate, each Item of Collateral in
    Borrower’s possession
                 ossession and control at the Collateral Location or at9such
                                                                         suc other location to which such Item may have been moved with the prior written consent of Secured Party, Upon request, Borrower

    located  .,
    shall advise
            vise
        ted for
               e
               ~ Secured Party as to the eexact location of an It
             or such purposes. Each Item shall be used so
    requirements,
                                                               Item of Collateral.
                                                             solely fo
           ments, all requirements of insurance policies carried
       uirements,
                                                                        Co         Secured Party may inspect the Collateral during normal business hours and enter the premises where the Collateral may be
                                                                    for commercial or business purposes and operated in a careful and proper manner and in compliance with all applicable governmental
                                                         carrie hereunder and all manufacturers’ instructions and warranty requirements.

    7. ALTERATIONS;
          TERATIONS;
            ERATIONS; SECURITY
                         SECURITY INTEREST COV   COVERAGE. Without Secured Party’s prior written consent, Borrower shall not make any alterations, additions or improvements to an Item of Collateral which
                                                 COVE
    detracts from its economic value or functional utility. All additions and improvements made to an Item shall be deemed accessions thereto, and shall not be removed if removal would impair the Item's
    economic value or functional utility.
                                 utility Secured
                                          Secu    Party's security interest shall cover all modifications, accessions, additions to and replacements and substitutions for the Collateral. Borrower will not make
    any replacements
                ~or substitutions without
               ements                   wit    Secured Party's prior written consent.

    8. MAINTENANCE.ANCE.     Borrower shall maintain the Collateral in good repair, condition and working order. Borrower shall cause all repairs required to maintain the Collateral in such condition to be made
                     NCE Borro
    promptly by qualified
                    alified parties.
                            pa       Borrower will cause each Item of Collateral for which a service contract is generally available to be covered by such a contract which provides coverage typical as to property
    of the type involved
                       ed and is issued by a competent servicing entity.

    9. LOSS AND DAMAGE; CASUALTY VALUE. In the event of loss, theft, destruction or requisition of or damage to an Item of Collateral from any cause Borrower shall give Secured Party prompt notice
    thereof and shall thereafter place the Item in good repair, condition and working order; provided, however, that if such Item is determined by Secured Party to be lost, stolen, destroyed or damaged beyond
    repair or is requisitioned or suffers a constructive total loss under an insurance policy carried hereunder Borrower shall cause the Equipment to be replaced and shall immediately provide Secured Party
    with information necessary to perfect Secured Party’s security interest in the replacement Equipment, or shall pay Secured Party the "Casualty Value" of such Item which shall equal (a) any amounts due
    at the time of such payment, and (b) each future installment payment due with respect to such Item discounted at five percent (5%) per annum simple interest from the date due to the date of such
    payment.

    10. TITLING. If requested by Secured Party, Borrower shall cause an Item of Collateral subject to title registration laws to be titled as directed by Secured Party. Borrower shall advise Secured Party
    promptly as to any necessary retitling. Borrower shall cause all documents of title to be furnished Secured Party within sixty (60) days of the date of any titling effected by Borrower.


    11. TAXES AND FEES. Borrower agrees to pay when due all taxes (including personal property tax, fines and penalties) and fees relating to this Agreement or the Collateral. If we pay any of the above
    for you, you agree to reimburse us and to pay us a processing fee for each payment we make on your behalf. In addition, you also agree to pay us any filing fees prescribed by the Uniform Commercial
    Code or other law and reimburse us for all costs and expenses involved in documenting and servicing this transaction. You further agree to pay us any loan fee as set forth above on the date the first
    payment due. You also acknowledge that in addition to the payments required to be made hereunder, we may assess and you may be required to pay additional taxes and/or fees. Such fees may not
    only cover our costs they may also include a profit.

    12. INSURANCE. Collateral Protection and Insurance: You agree to keep the Collateral fully insured against loss with us as loss payee in an amount not less than the replacement cost
    until this Agreement is terminated. You also agree to obtain a general public liability insurance policy from anyone who is acceptable to us and to include us as an insured on the policy.
    You agree to provide us certificates binders, or other evidence of insurance acceptable to us, before this Agreement begins and within thirty (30) days thereafter provide us with the policies
    of insurance Should you fail to furnish insurance as set forth herein in the type and amounts requested, we may force place insurance and then charge you the amount of the forced
    placed insurance plus 20% to reflect our cost of funds and administrative costs. We shall be reimbursed within ten (10) days after an invoice is sent to you in the event that we had to force
    place insurance.


                                                                                                           Page 1 of 2                                                                                  ~
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                                                              Document                   Page      22    of  29
    13. SECURED PARTY'S PAYMENT. If Borrower fails to perform any of its obligations hereunder, Secured Party may perform such obligation, and Borrower shall (a) reimburse Secured
    Party the cost of such performance and (b) pay Secured Party the service charge contemplated in paragraph 20.

    14. INDEMNITY. Borrower shall indemnify, defend and hold Secured Party harmless against any claim, action, liability or expense, including attorneys’ fees and court costs, incurred by Secured Party
    related to this Agreement and Secured Party's protection of its Collateral. While it is not anticipated that Secured Party shall have any liability for torts related to the Collateral, this indemnity covers tort
    proceedings including any strict liability claim, any claim under another theory related to latent or other defects and any patent, trademark or service mark infringement claim.

    15. DEFAULT. Any of the following constitutes an event of default hereunder: (a) Borrower’s failure to pay any amount due hereunder, within five (5) days of when due; (b) Borrower’s default in
    performing any other obligation hereunder or under any agreement between Borrower and Secured Party; (c) death or judicial declaration of competency of Borrower, if an indi vidual; (d) the filing by or
    against Borrower of a petition under the Bankruptcy Code or under any other insolvency law or law providing for the relief of Borrowers, including, without limitation, a petition for reorganization, agreement
    or extension; (e) the making of an assignment of a substantial portion of its assets by Borrower , appointment of a receiver or trustee for Borrower or for any Borrower’s assets, institution by or against
    Borrower of any other type of insolvency proceeding or other proceeding contemplating settlement claims against or winding up of the affairs of Borrower, Borrower’s cessation of active business affairs or
    the making by Borrower of a transfer of a material portion of Borrower’s assets or inventory not in the ordinary course of bu siness; (f) the occurrence of an event described in (c), (d), or (e) s to a
    guarantor of other surety of Borrower’s obligations hereunder, (g) any misrepresentation of a material fact in connection herewith by or on behalf of Borrower; (h) Borrower’s default under any loan, lease,
    or agreement providing financial accommodation with a third party or (i) Secured Party shall in good faith deem itself insecure as a result of a material adverse change in Borrower’s financial condition or
    otherwise.

    16. REMEDIES. Upon the occurrence of an event of default, Secured Party shall have the right, options, duties and remedies of a secured party, and Borrower shall have the rights and duties of a
    debtor, under the Uniform Commercial Code (regardless of whether such Code or a law similar thereto has been enacted in a jurisdiction wherein the rights or remedies are asserted) and in connection
    therewith Secured Party may: (a) declare the Casualty Value or such lesser amount as may be set by law immediately due and payable with respect to any or all Items of Collateral without notice or
    demand to Borrower; (b) take possession of and, if deemed appropriate, render unusable any or all Items of Collateral, without demand or notice, wherever located, without any process of law and without
    liability for any damages occasioned by such taking of possession including damages to contents; (c) require Borrower to assemble any or all Items of Collateral at a location in reasonable proximity to
    their designated location hereunder, (d) upon notice to Borrower required by law, sell or otherwise dispose of any Items of Collateral, whether or not in Secured Party’s possession, in a commercially
    reasonable manner at public or private sale and apply the net proceeds of such sale after deducting all costs of such sale, i ncluding, but not limited to, costs of transportation, repossession, storage,
    refurbishing, advertising and brokers fees, to the obligations of Borrower hereunder with Borrower remaining liable for any deficiency and with any excess being returned to Borrower or (e) utilize any other
    remedy available under the Uniform Commercial code or otherwise to Secured Party. All remedies are cumulative. Any sale may be adjourned by announcement at the time and place appointed for such




                                                                                                                                                                                                            -
    sale without further published notice, and Secured Party may if permitted by law bid and become the purchaser at any such sal e. Secured Party may conduct any public or private sale from Borrower's
    premises or location without any charge by Borrower.




                                                                                                                                                              W
    17. LITIGATION AND OTHER EXPENSES. Borrower shall pay Secured Party its costs and expenses not offset as provided in paragraph 16, including repossession and attorneys'          torneys' fees
                                                                                                                                                                                                 es and
                                                                                                                                                                                                    a court costs,
    incurred by Secured Party in enforcing this Agreement and in protecting its Collateral whether in State, Federal or Bankruptcy Court or other judicial or non-judicial tribunal
                                                                                                                                                                                 al including mediation,
                                                                                                                                                                                              mediati    arbitration
    or judicial reference proceeding. This obligation includes the payment of such amounts whether an action is filed.                                                                       ......
    18. ASSIGNMENT. Without the prior written consent of Secured Party, Borrower shall not sell, finance or create or allow any lien other than Secured Party’s       s security interest against an Item of
                                                                                                                                                                     ’s                                      o Collateral
                                                                                                                                                                                                                Co




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    or assign any of Borrower's obligations hereunder. Borrower's obligations are not assignable by operation of law. Secured Pa rty may assign, pledge orr otherwise transfer any of      o f its
                                                                                                                                                                                                ts rights but none of its
    obligations hereunder without notice to Borrower. If Borrower is given notice of any such assignment, Borrower shall acknowledge receipt thereof        of in writing and shall thereafter pay any amounts
                                                                                                                                                           eof                                              am        due
                                                                                                                                                                                                                      d
    hereunder as directed in the notice regardless of whether Borrower acknowledges the assignment or not. The rights of an assignee to amounts        s due hereunder
                                                                                                                                                      ts     here         shall
                                                                                                                                                                           hall be free of any claims, offsets,
                                                                                                                                                                                                          offset actions
                                                                                                                                                                                                                  actio
    or causes of action, or defense Borrower may have against Secured Party, and Borrower agrees not to assert against an assignee any claim     m or defense which Borrower may have against Secured Party.     Pa
    Subject to the foregoing, this Agreement inures to the benefit of, and is binding upon, the heirs, legatees, personal representatives, successors
                                                                                                                                             ccessors
                                                                                                                                                ssors and assigns of the parties.




                                                                                                     - V
    19. MARKINGS; PERSONAL PROPERTY. Borrower shall mark the Collateral or its location as requested by Secured Party           arty ~
                                                                                                                                     to indicate
                                                                                                                                        in
                                                                                                                                        indic ate
                                                                                                                                                e.Secured
                                                                                                                                                   .. ~    Party's security interest.   As b
                                                                                                                                                                                   "'11111111 between
                                                                                                                                                                                              betwe the parties the




                                                                                                     .- .....,......_...........---,. ......
    Collateral shall at all times be deemed personal. Borrower will provide Secured Party any real property waivers requested
    located including, but not limited to, landlord's waivers and mortgagee waivers.

    20. LATE PAYMENT. If Borrower fails to pay any amount to be paid hereunder within five (5) days of when
    if less, the maximum charge allowed by law, (b) amounts Secured Party pays others in connection with
    the lesser of eighteen percent (18%) per annum or the highest rate permitted by applicable law. No
                                                                                                        h the
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                                                                                                                           ed.


                                                                                                             en due, Borrowerr will   ...
                                                                                                                              by.Secured
                                                                                                                                  . . . .Party as

                                                                                                                                 wil pay Secured
                                                                                                                                                  Wtto the real prop
                                                                                                                                                                property


                                                                                                                                          ecured Party (a) a late
                                                                                                                                                                ~
                                                                                                                                                                     erty where an Item


                                                                                                                                                                  charge of
                                                                                                              collection of the payment and (c) interest on such unp
                                                                                                                                                                                       em
                                                                                                                                                                                       .....oof Collateral is or is to be

                                                                                                                                                                         o 10% of the payment which is late or
                                                                                                                                                                  unpaid amount from the date due until paid at
                                                                                                                                                                  unpa
                                                                                                     o more than a single charge under subparagraph (a) will be due in any given month.




                   Y
    21. ADDITIONAL DOCUMENTS. Borrower shall provide to Secured Party such financing      ingg statements and similar documents as  a Secured
                                                                                                                                       Secur ed Party shall
                                                                                                                                                        sh request. Borrower authorizes Secured Party where
    permitted by law to make filings of such documents without Borrower's signature. Borrowerer further shall furnish Secured
                                                                                                                       ,a,,..Party
                                                                                                                              Part y (a) a fiscal year-end
                                                                                                                                                  year
                                                                                                                                                  yea       financial statement including balance sheet and profit
    and loss statement within one hundred twenty (120) days of the close of each fiscal yearr and (b) such other information and documents
                                                                                                                                    d             not specifically mentioned herein relative to this agreement as
    Secured Party may request. Borrower shall reimburse Secured Party for all search and filing
                                                                                             ng fees incurred by Secured Party related
                                                                                                                                relate hehereto.




              - -P
    22. NOTICES. Notices shall be in writing, and sufficient if mailed to the party
    such party may provide on notice in accordance herewith. Notice



                                     ........
    23. GENERAL. This Agreement constitutes the entire        tire
                                                                re
                                                                ~
                                                                               arty involved, United
                                                                        .....-....
                                                                   ce so given shall be effective w
                                                                 tice

                                                                     agreement of the
    and other identification data about the Collateral,, as well as any ot     other
                                                                                         Wt          ..........
                                                                                              Unite States mail first class postage


                                                                                            parties as to the subje
                                                                                  her omitted
                                                                                         mitted factual matters. Borrower
                                                                                                                   Bo
                                                                                                                            p ostage prepaid, at its respective address set forth above or at such other address as
                                                                                                  when mailed. Borrower shall promptly notify Secured Party of any change in Borrower's address.

                                                                                                                                   Borrower authorizes Secured Party to amend or insert in this agreement any serial numbers
                                                                                                               subject matter and Bo
                                                                                                                             shall not amend, alter or change the agreement without a written agreement signed by the parties.
                                                                                                                             sha




            - O
    Any waiver by Secured Party must be in writing,riting, and forbearance
                                                                  orbearance       shall not   constitute a waiver.   Whenever
                                                                                                                      W
                                                                                                                      Whene     the  context of this Agreement requires, the neuter includes the masculine or feminine and the
                                                                 "1111111[
                                                                           .,,,,,,,,,,,~  -



                                  .... ...
    singular includes the plural. If there is more than one Borrower named in this agreement, the liability        liab    of each shall be joi nt and several. The titles to the paragraphs of this Agreement are solely for the




                             ... ..,- ......
    convenience of the parties and are not an aid in the interpretation.Wt This Agreement shall be ggoverned by the internal laws for the State of California or in any jurisdiction where the Equipment or you are
                            .,
                    ....... -
    located in our sole and absoluteute discretion.
                                         ~           You ~agree that this forumfor     selection clause was wa negotiated and is material consideration for us entering into the Agreement with you. You also agree that the
    Agreement was entered into  nto andd made to be performed in the County    Co        of Orange,
                                                                                             O range, State
                                                                                                       S      of California and any lawsuit filed by you against us must be filed in the County of Orange, State of California.




             C
    However, you agree that we willll have the right to commence~             any action
                                                                                    a        in any Court having the proper jurisdiction for that action. You agree and consent that we may serve legal papers on you by



             .,....-...
    registered or certified
                      tified
                        fied mail, which shall be sufficient to obtain Jurisdiction.
                                                                            Jurisdicti
    FOR ANY REASON
    PROCEDURE
            DURE
    Agreement.
                ~
              URE
                  EASON
                  EAS
                            .....
                       ON THIS JURY TRIAL WAIVER IS NOT ENFORCEABLE,
                    SECTION 638 ET. SEQ.  SEQ . Any provision
                                          SEQ..                  n declared
                                                                    de
              nt. The obligations of Borrower shall survive the release
        eement.
                                                                           ENFORCEA
                                                                           ENFORCE
                                                                                 invalid
                                                                                 inv
                                                                                            WE EACH KNOWINGLY, VOLUNTARILY AND INTENTIONALLY WAIVE TRIAL BY JURY IN ANY ACTION BETWEEN US. IF
                                                                                                 THEN WE AGREE TO PROCEED BY JUDICIAL REFERENCE IN ACCORDANCE WITH CALIFORNIA CODE OF CIVIL
                                                                                          shall be deemed severable from the remaining provisions which shall remain in full force and effect. Time is of the essence of this
                                                                       relea of the security interest in the Collateral.


    SECURED
             .....
              ........
    24. BORROWER'S
         ORROWER'S WARRANTIES. BORROWER CERTIFIES
          ED PARTY IN CONNECTION WITH THIS
         RED
    BORROWER
          WER AND UPON E

    PARTY NONWITHSTANDING
                         EXECUTION
                          XECUTION
                           ECU
    AGAINST BORROWER IN ACCO
                          ACCORDAN
             NWITHSTANDING ANY
           ONWITHSTANDING
                                             C         AND WARRANTS:(a) THE FINANCIAL AND OTHER INFORMATION WHICH BORROWER HAS SUBMITTED, OR WILL SUBMIT, TO
                                       TH AGREEMENT IS, OR SHALL BE AT TIME OF SUBMISSION, TRUE AND COMPLETE; (b) THIS AGREEMENT HAS BEEN DULY AUTHORIZED BY
                                   BY BORROWER SHALL CONSTITUTE THE LEGAL, VALID AND BINDING OBLIGATION, CONTRACT AND AGREEMENT OF BORROWER ENFORCEABLE
                          ACCORDANCE WITH ITS TERMS; AND (c) EACH SHOWING PROVIDED BY BORROWER IN CONNECTION HEREWITH MAY BE FULLY RELIED UPON BY SECURED
                             A   TECHNICAL DEFICIENCY IN ATTESTATION OR OTHERWISE. THE PERSON EXECUTING THIS AGREEMENT ON BEHALF OF BORROWER WARRANTS
    THAT PERSON'S      AUTHORITY TO DO SO. BORROWER FURTHER WARRANTS THAT EACH ITEM OF COLLATERAL SHALL AT THE TIME SECURED PARTY FUNDS THE TOTAL ADVANCE
              ON'S DUE AUTHO
    BE OWNED BYY BORROWER
                 BORROW     FREE AND CLEAR OF LIENS OR ENCUMBRANCES AND BE IN GOOD CONDITION AND WORKING ORDER.

    25. USED EQUIPMENT: If any equipment is used, Borrower unconditionally agrees: (a) Borrower finances the Equipment as is” and expressly acknowledges that the equipment is used
    and not new. Secured Party, NOT BEING THE VENDOR OF THE EQUIPMENT, NOR THE VENDOR’S AGENT, MAKES TO BORROWER NO WARRANTY OR REPRESENTATION,
    EXPRESS OR IMPLIED OF MERCHANTABILITY OR OTHERWISE, INCLUDING BUT NOT LIMITED TO: THE CONDITION, SAFENESS, USABILITY, REPAIR OR DESIGN OF THE
    EQUIPMENT OR ITS FITNESS FOR ANY PARTICULAR PURPOSE; THE QUALITY OR CAPACITY OF THE EQUIPMENT; THE WORKMANSHIP IN THE EQUIPMENT; THAT THE
    EQUIPMENT WILL SATISFY THE REQUIREMENTS OF ANY LAW, RULE, SPECIFICATION OR CONTRACT PERTAINING THERETO; AND ANY GUARANTY OR WARRANTY
    AGAINST PATENT INFRINGEMENT OR LATENT DEFECTS. (b) Secured Party is not responsible or liable for any direct, indirect, incidental or consequential damages or losses
    resulting from any cause whatsoever, including but not limited to; breach of warranty; the installation, operation or use of the Equipment or any products manufactured thereby, or delay or
    failure to deliver any item of Equipment. Borrower agrees to settle all such claims directly with Vendor and will not set up against Borrower’s obligations to Secured Party any such claims
    as a defense, counterclaim, setoff, or otherwise.

    26. If this document was sent electronically: I hereby warrant that this document has not been altered in any way. Any alteration or revision to any part of this or any attached
    Documents will make all alterations or revisions non-binding and void.
                                                                                                                                                                                                EFA# 17534-DIS-50187


        (SECURED PARTY) Hanmi Bank                                                                                 (BORROWER) HIGH PLAINS RADIO NETWORK, L.L.C.

        By:_________________________________________                                                               By: X_______________________________________
                                                                                                                       Monte Lee Spearman, Member
                 
        DATE: ______________________                                                                               DATE: ______________________
                                                                                                                              

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                                                                                                               is held at NA3.docusign.net

    ~ HanmiBank                                    Document     Page 23 of 29



                           EXHIBIT “A” FOR AGREEMENT NO.: 17534-DIS-50187

    The following described equipment is being financed under the terms and conditions agreed to on
    Equipment Finance Agreement Number: 17534-DIS-50187


    Vendor Name:                                            Process Technologies & Services, LLC
    Street Address:                                         10612-D Providence Rd #716
    City, State and Zip:                                    Charlotte, NC 28277-0459




                                                                                    W
    Vendor Phone:
    Vendor Invoice Number:                                  20220209E




                                                                                 IE
    Qty.        Equipment Description                                                                   Serial
                                                                                                          rial Number
                Transmitters and studio control equipment further described
                                                                   escribed
                                                                    scribed
                                                                       ~ on       ...                       ""·

                                                                               V
                                                                            ~
                PT&S invoice 20220209E




                 PY
    Borrower:
    By:
        rower:
         ow

    Title:
               CO
    This Exhibit “A” is
                     llhereby verified
                            H
                            HIGH
                                ■

                                 P
                                       as ccorrect by the undersigned Borrower.
                                                 •
                                 PLAINS RADIO NETWORK, L.L.C.
                            X _________________________
                            Monte Lee Spearman, Member
                                 
    Date:                   |______________________



        A COPY OF THIS AGREEMENT WITH SIGNATURE SHALL BE CONSIDERED AN ORIGINAL.
Case 24-70089-swe11   Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58         Desc Main
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                                   EXHIBIT 6
         INVOICE FROM SUPPLIER FOR EQUIPMENT FINANCE AGREEMENT NO. 40478603
      Case 24-70089-swe11                   Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58                            Desc Main
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                                                                                                                        Invoice
  PT&S
     s;,:J,<
 PTOCIII Tlohflolag/11 &                                                      Phone #                        Date             Invoice #

10612-D Providence Road, #716                                           704-817-5950                       2/4/2022           20220209E
Charlotte, NC 28277-0233

  Bill To                                                                      Ship To

High Plains Radio Network, LLC                                                HPRN
PO Box 1478                                                                   860 E 155 Road
Plainview, TX 79073                                                           Magnum, OK 73554
USA                                                                           USA




     P.O. No.                  Payment             Rep            Ship Date             Ship Via                   Incoterm

                           Due on receipt           PV             2/4/2022

         Item                               Description                                 Qty            Rate(USD)              Amount

                     KEYB
Equip.               Contenental Electrics                                                         1       89,125.00            89,125.00
                     416D Transmitter
Equip.               Bext                                                                          1        8,936.00             8,936.00
                     Fx1000 Broadcast Amplifier
Equip.               RVR                                                                           1        4,924.00             4,924.00
                     RXRL-LCD 130-980 MHz
Equip.               NiCom                                                                         1        3,985.00             3,985.00
                     STL Receiver RSL 900
Equip.               TFT                                                                           1        3,922.00             3,922.00
                     STL Reciever 1.7 FHz - 140 MHz
Equip.               NiCom                                                                         2        3,899.00             7,798.00
                     STL Transmitter TSL-910
Equip.               Burk                                                                          1        2,785.00             2,785.00
                     ARC-16 Remonte Control Unit
Shipping Charge      Shipping                                                                      1        1,000.00             1,000.00




Thank you for your business.
                                                                                              Subtotal USD                    $122,475.00

Bank Info:
Bank of America, NC2-108-01-01                                                                Sales Tax (0.0%)                      $0.00
7911 Providence Road
Charlotte, NC 28277
Account#: 237005994405
                                                                                              Total USD                       $122,475.00
Swiftcode: BOFAUS3N                                        Pierre vanDongen
Wire Routing # 026 009 593                                Cell: 704-907-6505                  Payments/Credits
ACH Routing # 0530 0019 6                                                                                                           $0.00
                                                    pierre@processtechgroup.com
*Customer Must Pay Wire Tranfer Fees*
                                               Website: www.processtechgroup.com              Balance Due                     $122,475.00
Case 24-70089-swe11   Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58     Desc Main
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                                  EXHIBIT 7
       FILE-MARKED COPY OF THE UCC-1 FINANCING STATEMENT FILED WITH OKLAHOMA
             COUNTY CLERK FOR EQUIPMENT FINANCE AGREEMENT NO. 40478603
                                                                                 Case 24-70089-swe11   Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58   Desc Main
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                                                                                                                                                     2022030302021243                                                   a
                                                                                                                                                     03/03/2022 09:26:54 AM Pgs: 1                                 "-
                                                                                                                                                     Fee: $10.00                                                 ~. C.
                                                                                                                                                     Kerrie Hudson, Deputy County Clerk                          ~~




                                                                                                                                                                     AL
                                                                                                                                                     Oklahoma County - State of Oklahoma                                       Ifi.2

UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS

A. NAME & PHONE OF CONTACT AT FILER (optional)
Name: Wolters Kluwer Lien Solutions Phone: 800-331-3282 Fax: 818-662-4141

 B. E-MAIL CONTACT AT FILER (optional)
       uccfilingreturn@wolterskluwer.com

 C. SEND ACKNOWLEDGMENT TO: {Name and Address)
                                                                         50066 - Hanmi Bank

     ~ien Solutions
       P.O. Box 29071
                                                                              85144214                           7
       Glendale, CA 91209-9071                                              OKOK
!L                                                                                                               _J




                                                                                                                      CI
                                  File with: Oklahoma, OK                                                                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME: Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
  name will not fit in line 1b, leave all of item 1 blank, check here   D and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
      1a. ORGANIZATION'S NAME
       HIGH PLAINS RADIO NETWORK, L.L.C.
OR    1b. INDIVIDUAL'S SURNAME                                                                    FIRST PERSONAL NAME                                                       ADDITIONAL NAME(S)/INITIAL(S)                   SUFFIX


1c. MAILING ADDRESS                                                                               CITY                                                                      STATE     POSTAL CODE                           COUNTRY

 3218 Quincy St                                                                                        Plainview                                                             TX      I   79072                              USA
2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
  name will not fit in line 2b, leave all of item 2 blank, check here
      2a. ORGANIZATION'S NAME


OR 2b. INDIVIDUAL'S SURNAME
                                                                           FI
                                                                        D and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)

                                                                                                  FIRST PERSONAL NAME                                                       ADDITIONAL NAME(S)/INITIAL(S)                   SUFFIX


2c. MAILING ADDRESS                                                                               CITY                                                                      STATE    IPOSTAL CODE                           COUNTRY

                                                                                                                                                                                                                                        -=
3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only one Secured Party name (3a or 3b)
                               OF
     3a. ORGANIZATION'S NAME
       Hanmi Bank
OR 3b. INDIVIDUAL'S SURNAME                                                                        FIRST PERSONAL NAME                                                      ADDITIONAL NAME(S)/INITIAL(S)                   SUFFIX


 3c. MAILING ADDRESS                                                                               CITY                                                                     STATE        POSTAL CODE                        COUNTRY

 3660 Wilshire Blvd., PH A                                                                             Los Anqeles                                                           CA      I   90010                               USA
4. COLLATERAL: This financing statement covers the following collateral:
All equipment, subject to Agreement Number #17534-DIS-50187and subject to any and all existing and future schedules entered into pursuant to and
incorporating said Agreement, together with all accessories, parts, attachments and appurtenances appearing or attached to any of the equipment in
said Agreement and all substitutions, trade-ins, proceeds, insurance, renewals and replacements of, and improvements and accessions to the
equipment in said Agreement.
UN



5. Check QillY. if applicable and checkQillY_ one box: Collateral is 0held in a Trust (see UCC1Ad, item 17 and Instructions) Obeing administered by a Decedent's Personal Representative
6a. Check QillY. if applicable and check QillY. one box:                                                                                                             6b. Check QillY. if applicable and check QillY. one box:

      D Public-Finance TransactionD Manufactured-Home Transaction D A Debtor is a Transmitting Utility                                                                   D Agricultural Lien        D Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable): D Lessee/Lessor     D Consignee/Consignor      D Seller/Buyer                                                                  D Bailee/Bailor            D Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
85144214                        17534-DIS-50187                                                                                                                                   GELD 13

                                                                                                                                                                                          Prepared by Lien Solutions, P.O. Box 29071,
FILING OFFICE COPY- UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)                                                                                                                   Glendale, CA 91209-9071 Tel (800) 331-3282
Case 24-70089-swe11   Doc 42 Filed 04/08/24 Entered 04/08/24 18:58:58     Desc Main
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                                   EXHIBIT 8
 DELIVERY AND ACCEPTANCE CERTIFICATE FOR EQUIPMENT FINANCE AGREEMENT NO. 40478603
DocuSign Envelope ID: D960036F-054C-4FBA-BC4C-F2840D44EAFC                   THIS IS A COPY
          Case 24-70089-swe11            Doc 42 Filed 04/08/24 Entered   04/08/24 Copy
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    J;i HanmiBank

                               DELIVERY AND ACCEPTANCE CERTIFICATE
                                              Agreement #: 17534-DIS-50187



    By signing below, you, the Borrower, agree:

    A) That all Equipment described in the Agreement identified above has been delivered, inspected,
    installed and is unconditionally and irrevocably accepted by you as satisfactory for all purposes of the
    Agreement; and
    B) That we, Hanmi Bank, are authorized to purchase the Equipment and start billing you under the
    Agreement as set forth in Section 2.



    effect.



                                                                                       IE W
    C) That Borrower’s obligations under the Agreement are valid and enforceable and that Borrower's
    unconditional payment obligation shall commence immediately.
    D) That upon execution, the Commencement Date set forth in the Agreement shall be in force and

                                                                        IMPORTANT: THIS DOCUMENT HAS LEGAL AND




                                                           V
                                                                        FINANCIAL CONSEQUENCES TO YOU. DO NOT SIGN
    Date of Acceptance: ________________________                        THIS DOCUMENT UNTIL YOU HAVE ACTUALLY
                                                                        RECEIVED ALL OF THE EQUIPMENT AND ARE
                                                                        COMPLETELY SATISFIED WITH IT.
    Agreement #:             17534-DIS-50187


    Borrower: HIGH PLAINS RADIO NETWORK, L.L.C.

                   2/25/2022


                              P                          Y
                            O
    By:
    ■         ________________________________
            Monte Lee Spearman, Member




              C
    I hereby authorize _________________________ to orally verify my/our acceptance of the
    equipment subject to Equipment Finance Agreement #17534-DIS-50187 in my absence.




              A COPY OF THIS DOCUMENT WITH SIGNATURE SHALL BE CONSIDERED TO BE AN ORIGINAL.
